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                                                                            SAMPLE #2 



               IN THE UNITED STATE                     .
                      WESTERN DISJu~~TORIF COT COURT FOR THE
                                             KLAHOMA
                                                               FILED
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          Plaintiff.,

VS.




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